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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS


 PUBLIC HEALTH AND MEDICAL
 PROFESSIONALS FOR TRANSPARENCY,

                                   Plaintiff,             Civil Action No. ______________
         -against-

 FOOD AND DRUG ADMINISTRATION,

                                   Defendant.


                                    RULE 7.1 STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and
Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned
counsel for Public Health and Medical Professionals for Transparency (a private non-
governmental party) certifies that the following are corporate parents, affiliates and/or subsidiaries
of said party, which are publicly held.

None.




Dated: September 16, 2021

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